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6                  IN THE UNITED STATES DISTRICT COURT FOR THE

7                        EASTERN DISTRICT OF CALIFORNIA

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9    JUAN REFUGIO SANCHEZ,             )       No. CV-F-05-346 OWW
                                       )       (No. CR-F-03-5165 OWW)
10                                     )
                                       )       ORDER DENYING RESPONDENT'S
11                     Petitioner,     )       MOTION FOR RECONSIDERATION
                                       )       (Doc. 508)
12             vs.                     )
                                       )
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                     Respondent.     )
                                       )
16                                     )

17        By Order filed on June 5, 2008, the United States was

18   ordered to respond to Petitioner’s claim of ineffective

19   assistance of counsel because of counsel’s alleged failure to

20   file a Notice of Appeal after being requested to do so by

21   Petitioner.

22        The United States moved to dismiss this claim because

23   Petitioner specifically waived his right to appeal in his written

24   Plea Agreement.    By Order filed on June 16, 2008, the motion to

25   dismiss was denied because in United States v. Sandoval-Lopez,

26   409 F.3d 1193 (9th Cir.2005), the Ninth Circuit held that it was

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1    error to dismiss without an evidentiary a Section 2255 motion

2    alleging that the petitioner, who had waived his right to appeal

3    in a plea agreement, specifically told his attorney to file a

4    Notice of Appeal.

5         Respondent moves for reconsideration of the denial of the

6    motion to dismiss.    Respondent clarifies that the motion to

7    dismiss was not based on the waiver in Petitioner’s Plea

8    Agreement of the right to appeal, but on the waiver in the Plea

9    Agreement of “his right to challenge his conviction, sentence or

10   the manner in which it was determined in any post-conviction

11   attack, including but not limited to a motion brought under Title

12   28, United States Code, Sections 2241 or 2255.”         Respondent

13   argues that Sandoval-Lopez is not controlling because Sandoval-

14   Lopez did not also waive his right to collaterally attack his

15   sentence as did Petitioner in this action.        Respondent asserts:

16             The government is not arguing that the motion
               should be dismissed because the defendant
17             waived his right to appeal, it is arguing
               that the motion cannot be brought in light of
18             the defendant’s specific waiver of his right
               to collaterally attack his sentence, a waiver
19             bargained for [by] the government in exchange
               for other concessions.
20
          A defendant may waive the statutory right to bring a Section
21
     2255 motion challenging the conviction or sentence.          United
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     States v. Pruitt, 32 F.3d 431, 433 (9th Cir.1994); United States
23
     v. Abarca, 985 F.2d 1012, 1014 (9th Cir.1992), cert. denied, 508
24
     U.S. 979 (1993).    The Ninth Circuit ruled that “a plea agreement
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     that waives the right to file a federal habeas petition pursuant
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1    to 28 U.S.C. § 2254 is unenforceable with respect to an IAC claim

2    that challenges the voluntariness of the waiver.”          Washington v.

3    Lampert, 422 F.3d 864, 871 (9th Cir.2005), cert. denied, 547 U.S.

4    1074 (2006).    Petitioner made no claim in his Section 2255 motion

5    that the waiver of his right to collaterally attack his

6    conviction and sentence was not knowing and voluntary.

7    Nonetheless, Petitioner’s claim that his attorney did not file a

8    notice of appeal after being requested to do so can only be

9    raised in a Section 2255 motion.         Although Sandoval-Lopez did not

10   specifically involve a waiver of the right to appeal and a waiver

11   of the right to collaterally attack his conviction and sentence,

12   the Ninth Circuit’s holding, when conjoined with the Supreme

13   Court’s statement in Roe v. Flores-Ortega, 528 U.S. 470, 477

14   (2000), strongly implies that this claim of ineffective

15   assistance of counsel may proceed to the merits, notwithstanding

16   waiver issues.

17        For the reasons stated, Respondent’s motion for

18   reconsideration is DENIED.

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20   IT IS SO ORDERED.

21   Dated: June 23, 2008                   /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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